        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 1 of 40




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 KALOMA CARDWELL,

                         Plaintiff,
        v.

 DAVIS POLK & WARDWELL LLP,
                                              19 Civ. 10256 (GHW)
 THOMAS REID, JOHN BICK, WILLIAM
 CHUDD, SOPHIA HUDSON, HAROLD
 BIRNBAUM, DANIEL BRASS, BRIAN
 WOLFE, and JOHN BUTLER,

                         Defendants.



         DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
          PARTIAL MOTION TO DISMISS THE AMENDED COMPLAINT




                        PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
                        1285 Avenue of the Americas
                        New York, NY 10019–6064
                        Tel.: (212) 373–3000
                        Fax: (212) 757–3990


                        Attorneys for Defendants




Dated: April 30, 2020
            Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 2 of 40




                                                   TABLE OF CONTENTS
                                                                                                                                     Page

PRELIMINARY STATEMENT .................................................................................................... 1
STATEMENT OF FACTS ............................................................................................................. 3
     A.   The Parties .............................................................................................................. 3
          B.         Plaintiff’s Tenure at the Firm .................................................................................. 4
ARGUMENT .................................................................................................................................. 7
    A.    Applicable Law ....................................................................................................... 7
          B.         All Claims Against the Additional Defendants Should Be Dismissed ................... 9
                     1.     Plaintiff’s Allegations Against the Additional Defendants Fail To
                            Establish Any Adverse Employment Action (or Discriminatory
                            Animus)..................................................................................................... 14
                     2.     The Remainder of Plaintiff’s Allegations Against the
                            Additional Defendants Do Not Establish Any Protected Activity
                            Known to the Additional Defendants (or Retaliatory Animus) ................ 20
          C.         All Claims Against All Defendants Should Be Dismissed to the Extent
                     Based Upon Discrete Acts Barred by the Statute of Limitations.......................... 24
          D.         Plaintiff’s Hostile Work Environment and
                     Harassment Claims Should Be Dismissed ............................................................ 28
          E.         Plaintiff’s Section 1981 Aiding and Abetting Claims
                     Should Be Dismissed ............................................................................................ 32
CONCLUSION ............................................................................................................................. 33




                                                                      i
           Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 3 of 40




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)
CASES

Almazan v. Almazan,
   2015 WL 500176 (S.D.N.Y. Feb. 4, 2015) ..........................................................................8, 19

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .............................................................................................................7, 18

Atuahene v. City of Hartford,
   10 F. App’x 33 (2d Cir. 2001) .................................................................................................10

Baraliu v. Vinya Capital, L.P.,
   2009 WL 959578 (S.D.N.Y. Mar. 31, 2009) ...........................................................................19

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) .............................................................................................................7, 18

Bliss v. MXK Rest. Corp.,
    220 F. Supp. 3d 419 (S.D.N.Y. 2016)........................................................................................9

Callahan v. Consol. Edison Co. N.Y., Inc.,
   187 F. Supp. 2d 132 (S.D.N.Y. 2002)................................................................................21, 22

Cetina v. Longworth,
   583 F. App’x 1 (2d Cir. 2014) .................................................................................................24

Chung v. City Univ. of N.Y.,
   605 F. App’x 20 (2d Cir. 2015) ...............................................................................................16

Colliton v. Cravath, Swaine & Moore LLP,
   2008 WL 4386764 (S.D.N.Y. Sept. 24, 2008),
   aff’d, 356 F. App’x 535 (2d Cir. 2009) ................................................................................8, 15

Cornwell v. Robinson,
   23 F.3d 694 (2d Cir. 1994).......................................................................................................27

Daniels v. City of N.Y.,
   2019 WL 251511 (S.D.N.Y. Jan. 17, 2019) ............................................................................18

Danieu v. Teamsters Local 264,
   2011 WL 1259839 (W.D.N.Y. Mar. 31, 2011)........................................................................15

Davis-Molina v. Port Auth. of N.Y. & N.J.,
   2011 WL 4000997 (S.D.N.Y. Aug. 19, 2011) .........................................................................30

Diaz v. City Univ. of N.Y.,
   2014 WL 10417871 (S.D.N.Y. Nov. 10, 2014) .......................................................................25
                                                                    ii
           Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 4 of 40




Donlon v. Bd. of Educ. of Greece Cent. Sch. Dist.,
   2007 WL 108470 (W.D.N.Y. Jan. 12, 2007) ...........................................................................25

Dozier v. Deutsche Bank Trust Co. Americas,
   2011 WL 4058100 (S.D.N.Y. Sept. 1, 2011) .............................................................................8

Erasmus v. Deutsche Bank Am. Holding Corp.,
   2015 WL 7736554 (S.D.N.Y. Nov. 30, 2015) .........................................................................11

Falcon v. City Univ. of N.Y.,
   263 F. Supp. 3d 416 (E.D.N.Y. 2017) .......................................................................................8

Fincher v. Depository Tr. & Clearing Corp.,
   604 F.3d 712 (2d Cir. 2010).....................................................................................................30

Fleming v. MaxMara USA, Inc.,
   371 F. App’x 115 (2d Cir. 2010) .............................................................................................30

Fleming v. Verizon N.Y., Inc.,
   419 F. Supp. 2d 455 (S.D.N.Y. 2005)......................................................................................28

Fleurentin v. N.Y.C. Health and Hosp. Corp.,
   2020 WL 42841 (E.D.N.Y. Jan. 3, 2020) ................................................................................25

Flores v. N.Y.C. Human Res. Admin.,
   2011 WL 3611340 (S.D.N.Y. Aug. 16, 2011) .............................................................25, 26, 28

Fried v. LVI Servs., Inc.,
    2011 WL 2119748 (S.D.N.Y. May 23, 2011) ...................................................................10, 16

Geffner v. Quanta Servs., Inc.,
   2018 WL 6807388 (S.D.N.Y. Dec. 27, 2018) .........................................................................10

Green v. Jacob Co. Watches, Inc.,
   248 F. Supp. 3d 458 (S.D.N.Y. 2017)......................................................................................28

Haggood v. Rubin & Rothman, LLC,
   2014 WL 6473527 (E.D.N.Y. Nov. 17, 2014) .............................................................13, 21, 23

Harris v. NYU Langone Med. Ctr.,
   2013 WL 3487032 (S.D.N.Y. July 9, 2013), rep’t & rec. adopted,
   2013 WL 5425336, at *4 (S.D.N.Y. Sept. 27, 2013) ...............................................................31

Henry v. N.Y.C. Health & Hosp. Corp.,
   18 F. Supp. 3d 396 (S.D.N.Y. 2014)................................................................................ passim

Henry-Offor v. City Univ. of N.Y.,
   2012 WL 2317540 (S.D.N.Y. June 15, 2012) ...................................................................25, 26



                                                                 iii
           Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 5 of 40




Hughes v. Xerox Corp.,
   37 F. Supp. 3d 629 (W.D.N.Y. 2014) ......................................................................................29

Johnson v. Long Island Univ.,
   58 F. Supp. 3d 211 (E.D.N.Y. 2014) .......................................................................................29

Johnson v. Morrison & Foerster LLP,
   2015 WL 845723 (S.D.N.Y. Feb. 26, 2015) ............................................................................17

Kassner v. 2nd Ave. Deli., Inc.,
   496 F.3d 229 (2d Cir. 2007).....................................................................................................27

Kimball v. Vill. of Painted Post,
   737 F. App’x 564 (2d Cir. 2018) .............................................................................................27

LeeHim v. N.Y.C. Dep’t of Educ.,
   2017 WL 5634128 (S.D.N.Y. Nov. 21, 2017) ................................................................. passim

Littlejohn v. City of N.Y.,
    795 F.3d 297 (2d Cir. 2015).........................................................................................28, 29, 30

Long v. Marubeni Am. Corp.,
   2006 WL 547555 (S.D.N.Y. Mar. 6, 2006) .............................................................................32

Lovell v. Staten,
   2019 WL 4601665 (S.D.N.Y. Sept. 23, 2019)...................................................................24, 25

Lue v. JPMorgan Chase & Co.,
   2018 WL 1583295 (S.D.N.Y. Mar. 27, 2018) .........................................................................32

McPhee v. N.Y.C. Health and Hosps. Corp.,
  2008 WL 3930089 (S.D.N.Y. Aug. 25, 2008) .........................................................................26

Mira v. Argus Media,
   2017 WL 1184302 (S.D.N.Y. Mar. 29, 2017) ...................................................................16, 17

Mirasol v. Gutierrez,
   2006 WL 871028 (S.D.N.Y. Apr. 5, 2006)..............................................................................25

Moore v. Verizon,
  2016 WL 825001 (S.D.N.Y. Feb. 5, 2016) ..................................................................20, 30, 31

Parekh v. Swissport Cargo Serv., Inc.,
   2009 WL 290465 (E.D.N.Y. Feb. 5, 2009)..............................................................................29

Presbyt. Healthcare Servs. v. Goldman Sachs and Co.,
   2017 WL 1048088 (S.D.N.Y. Mar. 17, 2017) .......................................................................7, 8

Robles v. Goddard Riverside Community Ctr.,
   2009 WL 1704627 (S.D.N.Y. June 17, 2009) .........................................................................24
                                                                 iv
           Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 6 of 40




Rogers v. Fashion Inst. of Tech.,
   2016 WL 889590 (S.D.N.Y. Feb. 26, 2016) .................................................................... passim

Roman-Malone v. City of N.Y.,
   2013 WL 3835117 (S.D.N.Y. July 25, 2013) ....................................................................25, 26

Royal Park Invs. SA/NV v. Deutsche Bank Nat’l Trust Co.,
   2016 WL 439020 (S.D.N.Y. Feb. 3, 2016) ..............................................................8, 20, 22, 27

SEC v. Rio Tinto plc,
   2019 WL 1244933 (S.D.N.Y. Mar. 18, 2019) .........................................................................20

Schoolcraft v. City of N.Y.,
   81 F. Supp. 3d 295 (S.D.N.Y. 2015)........................................................................................27

Sirisena v. City Univ. of N.Y.,
    2019 WL 1493220 (E.D.N.Y. Mar. 31, 2019) .........................................................................25

Sosa v. Medstaff, Inc.,
   2013 WL 6569913 (S.D.N.Y. Dec. 13, 2013) .........................................................9, 15, 21, 23

TufAmerica v. Diamond,
   968 F. Supp. 2d 588 (S.D.N.Y. 2013)........................................................................................8

Vega v. Hempstead Union Free Sch. Dist.,
   801 F.3d 72 (2d Cir. 2015).......................................................................................................24

Vera v. Donado Law Firm,
   2019 WL 3306117 (S.D.N.Y. June 19, 2019) ...................................................................10, 16

Ward v. Shaddock,
  2016 WL 4371752 (S.D.N.Y. Aug. 11, 2016) .........................................................................15

Weir v. Montefiore Med. Ctr.,
   2018 WL 1033238 (S.D.N.Y. Feb. 22, 2018) ....................................................................30, 31

White v. Bridge Inc.,
   2019 WL 4805896 (S.D.N.Y. Sept. 30, 2019) .........................................................................31

Williams v. Victoria’s Secret,
   2017 WL 1162908 (S.D.N.Y. Mar. 28, 2017) .........................................................................20

Woods v. Enlarged City Sch. Dist. of Newburgh,
  473 F. Supp. 2d 498 (S.D.N.Y. 2007),
  aff’d, 288 F. App’x 757 (2d Cir. 2008) ....................................................................................31

Yan v. Ziba Mode Inc.,
   2016 WL 1276456 (S.D.N.Y. Mar. 29, 2016) ...................................................................13, 20



                                                                  v
            Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 7 of 40




Zoulas v. N.Y.C. Dep’t of Educ.,
   400 F. Supp. 3d 25 (S.D.N.Y. 2019)................................................................................ passim

STATUTES

42 U.S.C. § 1981 .................................................................................................................... passim

42 U.S.C. § 2000e ............................................................................................................................5

N.Y. Exec. L. § 296 .............................................................................................................5, 30, 31

N.Y.C. Admin. Code § 8–107..........................................................................................................5

OTHER AUTHORITIES

Fed. R. Civ. P. 12 .............................................................................................................1, 7, 22, 24




                                                                      vi
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 8 of 40




               Davis Polk & Wardwell LLP (“Davis Polk” or the “Firm”), Thomas Reid and John

Bick (the “Management Committee Defendants”), and William Chudd, Sophia Hudson, Harold

Birnbaum, Daniel Brass, Brian Wolfe, and John Butler (the “Additional Defendants,” and, together

with Davis Polk and the Management Committee Defendants, “defendants”) respectfully submit

this memorandum of law in support of their motion, pursuant to Rule 12(b)(6) of the Federal Rules

of Civil Procedure, to dismiss in part the amended complaint filed on March 2, 2020 by plaintiff,

Kaloma Cardwell (ECF 37, the “Amended Complaint”).

               For the reasons set forth below, defendants seek dismissal of: (i) all claims against

the Additional Defendants, (ii) all claims to the extent that they are barred by the relevant statutes

of limitations, (iii) the hostile work environment and harassment claims, and (iv) the aiding and

abetting claims under 42 U.S.C. § 1981 (“Section 1981”).

                                PRELIMINARY STATEMENT

               Davis Polk hired plaintiff as a full-time corporate associate in 2014. As with all

associates, the Firm and its partners invested enormous time and effort to train plaintiff and develop

his legal skills. During the course of his first three years at the Firm, however, senior lawyers in

three Firm practice groups observed similar, and increasingly troubling, problems with his

performance. Plaintiff neglected tasks assigned to him; failed to complete required work and meet

deadlines; disappeared for protracted periods when tasks needed to be completed; failed to

recognize basic points; reached incorrect conclusions; and advanced positions that would, if

carried out, have been contrary to client interests. Senior lawyers on plaintiff’s matters repeatedly

were required to do, or redo, his work, or to find replacement staffing to ensure that deadlines were

met and client interests not compromised.

               By late 2017, despite repeated efforts to help him, his performance problems

persisted and worsened, and it became clear that plaintiff—by then a fourth-year associate in the


                                                  1
         Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 9 of 40




M&A group—was not performing at the level required of a Davis Polk associate. In early 2018,

plaintiff was told that he was not meeting the standards of an associate at his level, that his repeated

poor performance made it increasingly challenging to assign him to matters, and that he should

seek alternative employment. The Firm made clear—consistent with Firm practice when non-

performing lawyers are asked to look for alternative employment—that plaintiff should take up to

three months, at full salary, to find another job, availing himself of Firm resources and job

placement services. At plaintiff’s request, the Firm extended this period to six months. Plaintiff’s

employment ended in August 2018.

                 In this lawsuit, plaintiff asserts that his race and his alleged airing of issues of racial

bias, not his poor performance and inability to progress to meet the high standards of a Davis Polk

associate, caused the Firm to terminate his employment. The facts tell an entirely different

story. The contemporaneous documentary evidence—performance evaluations, email records,

work product—will show uniformly that plaintiff’s deficient performance was the only reason he

was asked to seek other employment.1

                 At this juncture and notwithstanding the meritlessness of this action in all respects,

the applicable pleading standards compel dismissal of plaintiff’s claims against the Additional

Defendants in their entirety as a matter of law. As with his original complaint, there are no

plausible allegations of unlawful acts or discriminatory animus on the part of any of the Additional



1
    On this motion, consistent with the Court’s obligation to accept well-pleaded facts as true, defendants address
    only the pleading deficiencies in plaintiff’s Amended Complaint, notwithstanding that the evidence will show
    that all of plaintiff’s claims against all defendants are factually false, legally meritless, and should be
    dismissed. In particular, defendants are not moving to dismiss all claims against the Firm and the Management
    Committee Defendants as a legal pleading matter, but will demonstrate at the appropriate juncture that all
    defendants at all times acted lawfully, fully supported plaintiff, communicated regularly with him, and never
    engaged in any discrimination, harassment, retaliation, or created a hostile work environment. Defendants will
    demonstrate at the appropriate juncture that the Management Committee Defendants acted at all times as
    leaders of the Firm to support fully an associate facing significant performance problems. The facts will show
    unequivocally that none of the Firm, the Management Committee Defendants, or the Additional Defendants
    treated plaintiff less favorably because of his race or because of his purported raising of any concerns related to
    race.

                                                          2
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 10 of 40




Defendants, and thus the claims against them should now be dismissed.

                 The Amended Complaint is also infected with several additional core deficiencies.

First, much of the complaint focuses on discrete acts far in the past for which the statute of

limitations has long since expired. All of plaintiff’s claims should be dismissed to the extent that

they are based upon such time-barred acts. Second, plaintiff’s Title VII claim for hostile work

environment should be dismissed for failure to exhaust administrative remedies. Third, plaintiff’s

Title VII and Section 1981 hostile work environment claims should be dismissed for failure to

allege the type of conduct required under the applicable legal standard (“severe and pervasive”

“discrimination, intimidation, ridicule, and insult”); the harassment claim likewise fails under state

law. And plaintiff’s Section 1981 aiding-and-abetting claims should be dismissed because there

is no Section 1981 aiding-and-abetting liability as a matter of law.

                                        STATEMENT OF FACTS

       A.       The Parties

                Plaintiff was employed by the Firm as a summer associate in 2013 and as an

associate from September 2014 to August 2018. ¶¶ 4, 18, 46–47.2 As a junior associate in the

Corporate Department, plaintiff rotated through the Credit, Capital Markets, and Mergers &

Acquisitions (“M&A”) groups; from April 2016 forward, he worked in M&A. ¶ 4.

                Davis Polk is a global law firm registered as a limited liability partnership under

the laws of the State of New York, with its principal place of business at 450 Lexington Avenue,

New York, New York 10017. ¶ 6.

                The individual defendants were partners in the Corporate Department during some




2
    Unless noted, citations to “¶” refer to the Amended Complaint, ECF 37. Citations to “Orig. Compl.” are to
    ECF 1. Citations to “Ex.” refer to the exhibits to the declaration of Susanna Buergel, dated April 30, 2020.

                                                        3
          Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 11 of 40




or all of plaintiff’s tenure at the Firm. ¶¶ 7–14.3 Reid and Bick were members of the Firm’s

Management Committee; Reid was the Managing Partner, and Bick the head of the Corporate

Department. ¶¶ 7, 8.            The Additional Defendants were lawyers in the Firm’s Corporate

Department, but had no management responsibilities during the relevant period. ¶¶ 9–14. Hudson

was a partner in the Capital Markets group, through which plaintiff rotated from October 2015 to

March 2016. ¶¶ 9, 120–21. The remaining Additional Defendants were members of the M&A

group, to which Plaintiff was “permanently assigned” in April 2016. ¶¶ 126, 168. Brass, an

associate for much of the relevant period, became an M&A partner in 2017. ¶¶ 12, 279. Birnbaum

and Wolfe, also associates when plaintiff began at the Firm, became M&A partners in 2016 and

2015, respectively, and served at times as junior M&A staffing coordinators. ¶¶ 11, 13. Chudd

was an M&A partner assigned to deliver an annual review to plaintiff in December 2015. ¶¶ 10,

88.    Butler was an M&A partner assigned with Bick in 2017 as one of plaintiff’s career

advisors. ¶¶ 14, 210.

         B.        Plaintiff’s Tenure at the Firm

                   The gravamen of plaintiff’s Amended Complaint is that, while he was an associate

at the Firm, (i) his “professional development and opportunities” were limited, (ii) he was

“depriv[ed] . . . [of] all billable work” for four months, and (iii) he was “retaliated against”—either

because of his race or because he raised concerns related to race, culminating in his dismissal from

the Firm. ¶¶ 1, 2. Plaintiff does not dispute that his reviews criticized his performance, but asserts,

without support, that the Firm “chang[ed] [its] conclusions” and “falsif[ied his] performance

reviews” by “retroactively creat[ing]” them, in order to submit them or “conclusions” about them

to the New York State Division of Human Rights (“NYSDHR”). ¶¶ 1, 2, 84, 118.4 Plaintiff


3
      Wolfe, Birnbaum, and Brass became partners in 2015, 2016, and 2017, respectively. ¶¶ 11–13.
4
      As described at note 18, no reviews were created retroactively; plaintiff erroneously refers to a print date.

                                                            4
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 12 of 40




contends that the Firm terminated him not because of his performance but because he raised issues

concerning race.

                 Plaintiff first brought his claims against the Firm in an administrative action filed

with the NYSDHR and the EEOC in August 2017, while he was an associate. Exs. A, B. Plaintiff

did not assert claims against any individuals. The NYSDHR made no finding against the Firm

and ultimately dismissed plaintiff’s claims, upon the filing of plaintiff’s federal lawsuit, for

“Administrative Convenience.” ¶¶ 16, 84 n.6. Plaintiff filed this suit on November 4, 2019,

naming seven individual defendants who were not named—and in three instances not even

mentioned—in his administrative charge. ECF 1; Ex. B (not mentioning Chudd, Hudson, or Wolfe

in full text). On March 2, 2020, in response to defendants’ original motion to dismiss, plaintiff

filed an Amended Complaint, adding an eighth individual defendant (Butler, after the Court-

ordered deadline to add additional defendants), a new statute (Section 1981), nine new counts, 42

additional pages, and 94 new paragraphs. ECF 1, 37.5

                 Plaintiff asserts a litany of claims against defendants based on (i) a series of

allegations that predate the fall of 2016 and thus are time-barred as to all state and city claims and

the Title VII claims against the Firm, and (ii) other allegations beginning in the fall of 2016.

Part C, infra.

                 With respect to the pre-fall 2016 period, plaintiff claims that he was subjected to

certain purportedly “discriminatory interactions,” that he “flagged” acts of discrimination, and that

he was punished for doing so. E.g., ¶¶ 54–64, 67–69. The bulk of plaintiff’s claims against the

Additional Defendants are based upon acts solely within this pre-fall 2016 period, including

allegations that:


5
    Compare ECF 1 ¶¶ 259–85 (bringing seven claims under 42 U.S.C. § 2000e (“Title VII”), the New York State
    Human Rights Law, N.Y. Exec. L. § 296, as amended by L. 2019, ch. 160 (“NYSHRL”), and the New York
    City Human Rights Law, N.Y.C. Admin. Code § 8–107 (“NYCHRL”)) with ECF 37 ¶¶ 313–379.

                                                     5
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 13 of 40




       Chudd delivered plaintiff’s annual performance review in December 2015, including
        “positive feedback” and “suggestions,” and also wrote his own review, ¶¶ 84, 88;
       Hudson corrected an admitted grammatical error by plaintiff in December 2015, ¶ 121;
        had “virtually no communications” with plaintiff after they “stopped working together at
        the end of 2015/beginning of 2016,” ¶ 124; rated plaintiff “behind” his class in her June
        and September 2016 performance reviews, ¶¶ 119–20; and in July 2016, supposedly
        asked plaintiff “if he could recommend a Black restaurant that is in Harlem,” ¶ 124;
       Over the course of three hours in July 2016, plaintiff was asked to assist an M&A team,
        told by Brass (then an associate) that he could “stand down” because the team was
        “ok[ay] for the near future,” ¶ 139, and later “replaced” with a white associate, ¶ 146; and
       Birnbaum and Wolfe, as the “two most junior M&A partners,” “served as M&A staffing
        coordinators,” ¶¶ 126, 169, but allegedly did not staff plaintiff on any matters in 2016,
        ¶¶ 169–70, and did not send plaintiff emails for several months “notwithstanding group
        emails to practice groups and other listservs.” ¶¶ 174–75.

Plaintiff’s remaining pre-fall 2016 claims generally assert that he was (i) staffed on undesirable

assignments, e.g., ¶¶ 131–36; (ii) given mixed or negative performance reviews, e.g., ¶¶ 88–94,

102–06, 119; and (iii) ignored at times by certain individuals, e.g., ¶¶ 109–10, 137, 142, 149–54.

               With respect to the period beginning in the fall of 2016, plaintiff alleges that,

beginning in or about October 2016, ¶¶ 164 n.21, 172, he experienced a decline in billable hours

attributable to discrimination or retaliation (as opposed to declining demand for his work in light

of performance issues). See, e.g., ¶¶ 168, 176–77, 206. He concedes that multiple reviewers

flagged concerns with his performance over multiple years, including a “pattern of missing

deadlines” and drafting deficiencies, although he attempts to minimize the significance of these

issues. See, e.g., ¶¶ 98, 102–06, 119, 195 (2016); 282, 285 (2018). Plaintiff also contends that he

raised race-related issues in the fall 2016 period and after, see, e.g., ¶ 229 (noting a then-former

client from which he believed the Firm should not accept future work), and ultimately that he was

allegedly terminated for raising these issues, e.g., ¶ 300.

               Notably, there are virtually no allegations with respect to the Additional Defendants

from the fall of 2016 and thereafter, other than a few stray allegations that:

       Chudd did not personally email plaintiff in 2017 “notwithstanding group emails to

                                                  6
       Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 14 of 40




         practice groups and other listservs,” ¶ 207 (there is no allegation that Chudd was working
         with plaintiff in this period);
       Hudson “submitted to the NYSDHR” reviews that “directly contradicted” her “real-time,
        written and verbal statements,” ¶¶ 118–20;
       Butler “create[d] a roadblock” between plaintiff and other partners, ¶ 211, and did not
        communicate with plaintiff about the Career Advisor Program, notwithstanding his
        appointment as one of Cardwell’s advisors, ¶¶ 214–16;
       In the 28-day period between January 11 and February 8, 2018, Brass—who had
        allegedly “replaced” Wolfe as a junior staffing partner “for the M&A group” in July
        2017—did not personally staff plaintiff on any matters, ¶¶ 279, 295; and
       Plaintiff was told that certain M&A partners, including Birnbaum, Wolfe, and Brass,
        “collectively decided to terminate” him, ¶ 296.

                                          ARGUMENT

                 Plaintiff’s claims should be dismissed in their entirety as to the Additional

Defendants, and substantially narrowed as to all other defendants, in light of core deficiencies in

the pleadings.

       A.        Applicable Law

                 When considering a motion under Rule 12(b)(6), this Court must accept as true the

well-pleaded factual allegations in the complaint, but need not accept legal conclusions, assertions

unsupported by the facts, or unwarranted inferences. Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555–56 (2007). A mere “conclusory statement[]” that a plaintiff has satisfied an element of a claim

“do[es] not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A plaintiff must plead “enough

facts to state a claim to relief that is plausible on its face,” not merely “conceivable.” Twombly,

550 U.S. at 570. This standard “asks for more than a sheer possibility that a defendant has acted

unlawfully,” Iqbal, 556 U.S. at 678; where a complaint “pleads facts that are ‘merely consistent

with’ a defendant’s liability, it ‘stops short of the line between possibility and plausibility of

entitlement to relief.’” Id. (quoting Twombly, 550 U.S. at 557).

                 On a Rule 12 motion, the court may consider “documents incorporated by reference

in the complaint,” Presbyt. Healthcare Servs. v. Goldman Sachs and Co., 2017 WL 1048088, at

                                                 7
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 15 of 40




*5 (S.D.N.Y. Mar. 17, 2017) (quotation omitted), and documents “integral to the complaint,”

meaning documents upon whose “terms and effect” the “complaint relies heavily.” Almazan v.

Almazan, 2015 WL 500176, at *4 (S.D.N.Y. Feb. 4, 2015) (quotation omitted). If a document so

considered “‘contradict[s] allegations in the complaint, the document, not the allegations,

control[s], and the court need not accept the allegations in the complaint as true.’” Royal Park

Invs. SA/NV v. Deutsche Bank Nat’l Trust Co., 2016 WL 439020, at *1 (S.D.N.Y. Feb. 3, 2016)

(quoting TufAmerica, Inc. v. Diamond, 968 F. Supp. 2d 588, 592 (S.D.N.Y. 2013)). Courts also

may take judicial notice of NYSDHR filings. Falcon v. City Univ. of N.Y., 263 F. Supp. 3d 416,

424 (E.D.N.Y. 2017) (considering state administrative records because plaintiff “ha[d] notice of

those documents because she submitted them and received them”).

                Particularly relevant here, courts may not consider events occurring outside the

relevant limitations periods in determining whether a plaintiff has satisfied the pleading standard.

Zoulas v. N.Y.C. Dep’t of Educ., 400 F. Supp. 3d 25, 49–50 (S.D.N.Y. 2019) (Woods, J.)

(dismissing discrimination and retaliation claims to the extent based on “alleged acts occurr[ing]”

outside the limitations period).

                Finally, courts are not required to “accept as true” facts alleged in an amended

pleading that “conflict with a plaintiff’s prior allegations.” Dozier v. Deutsche Bank Trust Co.

Americas, 2011 WL 4058100, at *2 (S.D.N.Y. Sept. 1, 2011). Opportunistic amendments that are

inconsistent with prior allegations cannot defeat an otherwise meritorious motion to dismiss. Thus,

where a plaintiff “changes his statement of the facts in order to respond to [a] motion to dismiss

. . . [and] directly contradicts the facts set forth in his original complaint, a court is authorized to

accept the facts described in the original complaint as true.” Colliton v. Cravath, Swaine & Moore

LLP, 2008 WL 4386764, at *6 (S.D.N.Y. Sept. 24, 2008) (internal quotation marks omitted), aff’d,

356 F. App’x 535 (2d Cir. 2009).

                                                   8
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 16 of 40




       B.       All Claims Against the Additional Defendants Should Be Dismissed

                All claims against the Additional Defendants should be dismissed because plaintiff

has not plausibly alleged that any of them engaged in unlawful conduct.6

                Discrimination. To plead actionable discrimination under federal, state, or city law,

plaintiff must allege—as to each defendant—“facts plausibly indicating” (i) “conduct amounting

to an adverse employment action,” which (ii) “occurred under circumstances evincing

discriminatory animus.” Henry v. N.Y.C. Health & Hosp. Corp., 18 F. Supp. 3d 396, 409

(S.D.N.Y. 2014) (NYSHRL); LeeHim v. N.Y.C. Dep’t of Educ., 2017 WL 5634128, at *9

(S.D.N.Y. Nov. 21, 2017) (NYCHRL); Sosa v. Medstaff, Inc., 2013 WL 6569913, at *4 n.4

(S.D.N.Y. Dec. 13, 2013) (Title VII and § 1981). Adverse employment actions are “materially

adverse change[s] in the terms and conditions of employment”; allegations of “mere

inconvenience[s] or [] alteration[s] of job responsibilities” do not suffice. Henry, 18 F. Supp. 3d at

404 (quotation omitted). Plaintiff must show that the “adverse employment action was because of

race,” id. at 407; accord LeeHim, 2017 WL 5634128, at *9 (dismissing state and city claims against

individuals).

                Retaliation. A plausible claim of retaliation under federal, state, and city law

requires allegations of “(1) participation in a protected activity known to the defendant; (2) an

employment action disadvantaging the plaintiff; and (3) a causal connection between the protected

activity and the adverse employment action.” Henry, 18 F. Supp. 3d at 411 (quotation omitted)

(emphasis added) (NYSHRL); Bliss v. MXK Rest. Corp., 220 F. Supp. 3d 419, 424–25 (S.D.N.Y.

2016) (NYSHRL and NYCHRL); Sosa, 2013 WL 6569913, at *4 n.4 (Title VII and

§ 1981). Merely alleging temporal proximity without “even a modicum of specificity” does not



6
    In addition, Butler should be dismissed from the case because plaintiff failed to move to “join” him as an
    “additional part[y]” by this Court’s January 20, 2020 deadline. ECF 27 at ¶ 4.

                                                        9
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 17 of 40




satisfy this standard. Henry, 18 F. Supp. 3d at 412; Rogers v. Fashion Inst. of Tech., 2016 WL

889590, at *7 (S.D.N.Y. Feb. 26, 2016) (“consisten[t] complain[ts] about race discrimination” two

years before an adverse action fail to establish causation).

               Aiding and Abetting Discrimination, Retaliation, Hostile Work Environment, and

Harassment. To plead an actionable claim for aiding and abetting under state or city law (no such

cause of action exists under Section 1981, as set forth at Part E), a plaintiff must plausibly allege

“direct, purposeful participation,” sharing “the intent or purpose of the principal actor.” Fried v.

LVI Servs., Inc., 2011 WL 2119748, at *7 (S.D.N.Y. May 23, 2011); Vera v. Donado Law Firm,

2019 WL 3306117, at *8 (S.D.N.Y. June 19, 2019). The standard under which courts analyze

aiding-and-abetting claims under the NYSHRL and the NYCHRL—that the individual “actually

participated” in the discriminatory or retaliatory conduct—overlaps with that used to evaluate

direct liability claims. Vera, 2019 WL 3306117, at *8 (“[I]n order for aider-and-abettor liability

to be established [under NYSHRL], the defendant must be found to have actually participated in

the conduct giving rise to the claim of discrimination.”) (quotation omitted); see also Geffner v.

Quanta Servs., Inc., 2018 WL 6807388, at *5 (S.D.N.Y. Dec. 27, 2018) (discussing individual

liability under NYCHRL).

               The claims against the Additional Defendants fail to meet these standards and

should be dismissed.

               First, plaintiff has engaged in prohibited group pleading. Plaintiff consistently

refers to all “Defendants,” “Davis Polk,” or “the partners.” See, e.g., ¶¶ 1, 83, 87, 120, 166–67,

219, 253, 263–64, 282–90. The pleading standard “requires, at a minimum, that a complaint give

each defendant fair notice of what the plaintiff’s claim is and the ground upon which it

rests.” Atuahene v. City of Hartford, 10 F. App’x 33, 34 (2d Cir. 2001) (emphasis added)

(quotation omitted). This Circuit will not allow race discrimination claims to proceed where, as

                                                 10
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 18 of 40




here, a plaintiff “fail[s] to differentiate among the defendants, alleging instead violations by ‘the

defendants.’” Id. Allegations that “lump[] all the defendants together” do not “satisfy this

minimum standard.” Id.

                Second, allegations of discrete acts that occurred outside the applicable limitations

periods cannot form the basis of claims against any of the Additional Defendants and cannot be

considered for purposes of deciding this motion to dismiss. Most of the allegations against the

Additional Defendants, and all of the allegations against Hudson, are time-barred for purposes of

state and city law. See generally Part C (time bar).7

                But even if the clearly time-barred allegations were taken into account (and they

should not be), the Amended Complaint still lacks the detailed allegations required in this Circuit

to establish race discrimination or retaliation claims against an individual. Plaintiff asserts four

legally irrelevant allegations against each of Chudd and Hudson and three legally inconsequential

allegations against each of Birnbaum, Brass, Butler, and Wolfe. These allegations against the

Additional Defendants fall into four categories: (i) the Additional Defendants ignored plaintiff by

failing to email or communicate with him for periods of time; (ii) plaintiff received unfavorable

assignments, an assignment was taken away from him, or he was not assigned to matters by them,

notwithstanding having received assignments from others; (iii) plaintiff perceived his performance

reviews to be inconsistent with other contemporaneous feedback, and (iv) three junior partners—

none of whom is plausibly alleged to have harbored any discriminatory or retaliatory animus

towards plaintiff—were part of a “group” that “collectively decid[ed] to terminate” his

employment. ¶ 296.



7
    In addition, Messrs. Birnbaum, Brass, and Wolfe are not directly liable under the NYSHRL for acts that
    occurred when they were associates, see ¶¶ 11–13, because they had no “ownership interest” in the Firm, and
    the Firm reserves “power” to make “personnel decisions” for those outside associate ranks. Erasmus v.
    Deutsche Bank Am. Holding Corp., 2015 WL 7736554, at *8 (S.D.N.Y. Nov. 30, 2015) (quotation omitted).

                                                      11
                  Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 19 of 40




                           The chart below lists the entirety of the allegations asserted against each of the
         Additional Defendants, by category:
                                          All Allegations Against Additional Defendants
                                                          BY CATEGORY
         (TIME-BARRED ALLEGATIONS (UNDER STATE & CITY LAW & TITLE VII (AS TO THE FIRM)) APPEAR IN BOLD ITALICS)
  DEF.          IGNORED PLAINTIFF              STAFFING ALLEGATIONS                    REVIEW ALLEGATIONS              OTHER ALLEGATIONS
Brass        None.                         As an associate, over 3 hours      None.                                  Part of a “group” that
                                            in 2016, “abrupt[ly]                                                       “collectively decided to
                                            remov[ed]” plaintiff from deal,                                            terminate” plaintiff’s
                                            and at unknown later date,                                                 employment. ¶ 296.
                                            “replaced” him with a white
                                            associate. ¶¶ 139–40, 146.
                                           Did not staff plaintiff for 28
                                            days in 2018. ¶¶ 279, 295.
Butler        Did not email plaintiff    None.                                None.                                  Did not respond to a
               “in all of 2017,”                                                                                       routine thank-you
               including emails about                                                                                  email to a staffing
               the Career Advisor                                                                                      coordinator, on which
               Program. ¶¶ 207, 216.                                                                                   he (and Bick) were
              Created “a roadblock                                                                                    copied, purportedly
               between Mr. Cardwell                                                                                    flagging complaint but
               and Davis Polk                                                                                          not requesting any
               partners.” ¶¶ 211,                                                                                      response. ¶¶ 214–15
               216–18.                                                                                                 (time-barred
                                                                                                                       (state/city)).
Chudd         Did not email plaintiff    None.                                 Delivered Firm’s 2015 annual        None.
               in “all of 2017.” ¶ 207.                                          review containing “suggestions.”
                                                                                 ¶ 88.
                                                                                Went “out of his way to not
                                                                                 document positive conclusions”
                                                                                 in his own 2015 review. ¶ 85.
                                                                                Later “shifted” his “conclusions”
                                                                                 about his review “in response to”
                                                                                 complaints and potential
                                                                                 litigation. ¶ 87.



Hudson       Had “virtually no           None.                                 Corrected an admitted               Supposedly asked
              communications” with                                               grammatical error in Dec. 2015.      plaintiff in 2016 “if he
              plaintiff after “they                                              ¶ 121.                               could recommend a
              stopped working                                                   Created “dishonest conclusions”      Black restaurant that is
              together” in early 2016.                                           in her 2016 reviews that “directly   in Harlem” after they
              ¶ 124.                                                             contradicted” her “real-time”        stopped working
                                                                                 statements and later “submitted      together. ¶ 124.
                                                                                 [them] to NYSDHR.” ¶¶ 118–20.
Birnbaum  Did not email plaintiff         Did not staff plaintiff on any     None.                                  Part of a “group” that
& Wolfe    for periods of time.             matters in 2016. Ensured he                                                “collectively decided to
           ¶¶ 174–75, 207.                  was “underutilized” by not                                                 terminate” plaintiff’s
                                            staffing him “at the same rate                                             employment. ¶ 296.
                                            or in the same way” as his peers
                                            and in response to his
                                            complaints. ¶¶ 126–27, 147,
                                            168–77, 193, 203–06, 295
                                            (time-barred in part).

                                                                        12
       Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 20 of 40




               These allegations, even if true, do not come close to plausibly alleging unlawful

acts by any of the Additional Defendants. There is no plausible allegation of an “adverse

employment action” attributable to the Additional Defendants, which is fatal to plaintiff’s

discrimination and retaliation claims. There is no plausible allegation that plaintiff engaged in

protected activity “known to” them, which is fatal to plaintiff’s claim of retaliation. Henry, 18 F.

Supp. 3d at 411. Finally, there is not even “minimal evidence” of discriminatory or retaliatory

animus by any of the Additional Defendants. LeeHim, 2017 WL 5634128, at *3 (quotation

omitted) (dismissing NYS- and NYCHRL claims); Yan v. Ziba Mode Inc., 2016 WL 1276456, at

*3 (S.D.N.Y. Mar. 29, 2016) (dismissing § 1981 claims); Haggood v. Rubin & Rothman, LLC,

2014 WL 6473527, at *15 (E.D.N.Y. Nov. 17, 2014) (retaliation).

               The chart below sets forth the same allegations by principal pleading deficiency:




                                                13
           Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 21 of 40




                               All Allegations Against Additional Defendants
                                   BY PRINCIPAL PLEADING DEFICIENCY
                               (TIME-BARRED ALLEGATIONS APPEAR IN BOLD ITALICS)

                                   FAILURE TO ALLEGE                                         FAILURE TO ALLEGE
  DEF.                       ADVERSE EMPLOYMENT ACTION                                      KNOWLEDGE OF ANY
                             (OR DISCRIMINATORY ANIMUS)                                     PROTECTED ACTIVITY
                                                                                         (OR RETALIATORY ANIMUS)

Brass       As an associate, over 3 hours in 2016, “abrupt[ly] remov[ed]”           Part of a “group” that “collectively
             plaintiff from deal, and at unknown later date, “replaced” him           decided to terminate” plaintiff’s
             with a white associate. ¶¶ 139–40, 146.                                  employment. ¶ 296.
            Did not staff plaintiff for 28 days in 2018. ¶¶ 279, 295.


Butler      Did not email plaintiff “in all of 2017,” including emails as to the    Did not respond to a routine thank-
             Career Advisor Program. ¶¶ 207, 216.                                     you email to a staffing coordinator,
                                                                                      on which he (and Bick) were copied,
            Created “a roadblock between Mr. Cardwell and Davis Polk
                                                                                      purportedly flagging complaint but
             partners.” ¶¶ 211, 216–18.
                                                                                      not requesting any response.
                                                                                      ¶¶ 214–15 (time-barred
                                                                                      (state/city)).
Chudd       Went “out of his way to not document positive conclusions” in           Later “shifted” his “conclusions”
             his own 2015 review. ¶ 85.                                               about his 2015 review “in response
                                                                                      to” complaints and potential
            Delivered Firm’s 2015 annual review containing “suggestions.”
                                                                                      litigation. ¶ 87.
             ¶ 88.
            Did not email plaintiff in “all of 2017,” after they stopped working
             together. ¶ 207.
Hudson      Corrected an admitted grammatical error in Dec. 2015. ¶ 121.
            Created “dishonest conclusions” in her 2016 reviews that
             “directly contradicted” her “real-time” statements and later
             “submitted [them] to NYSDHR.” ¶¶ 118–20.
            Had “virtually no communications” with plaintiff after “they
             stopped working together” in early 2016. ¶ 124.
            Supposedly asked plaintiff in 2016 “if he could recommend a
             Black restaurant that is in Harlem” after they stopped working
             together. ¶ 124.
Birnbaum    Did not email plaintiff for periods of time. ¶¶ 174–75, 207.            Part of a “group” that “collectively
& Wolfe     Did not staff plaintiff on any matters in 2016. Ensured he was           decided to terminate” plaintiff’s
             “underutilized” by not staffing him “at the same rate or in the          employment. ¶ 296.
             same way” as his peers and in response to his complaints.
             ¶¶ 126–27, 147, 168–77, 193, 203–06, 295 (time-barred in part).


                  1.        Plaintiff’s Allegations Against the Additional Defendants Fail To
                            Establish Any Adverse Employment Action (or Discriminatory Animus)

                  Plaintiff’s allegations fail, as a matter of law, to establish any adverse employment


                                                           14
         Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 22 of 40




action taken by the Additional Defendants or the required discriminatory animus.

                           (a)      Plaintiff’s Complaint That He Was Ignored Does Not Establish
                                    Any Adverse Employment Action or Show Discriminatory Animus

                 The complaint that defendants Birnbaum, Butler, Chudd, Hudson, and Wolfe

ignored plaintiff is insufficient to establish the required “adverse employment action,” and fails to

state a claim. Ward v. Shaddock, 2016 WL 4371752, at *6 n.4 (S.D.N.Y. Aug. 11, 2016)

(supervisor’s “refus[al] to directly communicate or acknowledge” plaintiff did not “satisfy the

threshold for adverse employment action”); accord Sosa, 2013 WL 6569913, at *5. Even

“isolation,” “ostracism,” and “silent treatment” do not constitute “adverse employment actions.”

Danieu v. Teamsters Local 264, 2011 WL 1259839, at *8–9 (W.D.N.Y. Mar. 31, 2011). Plaintiff’s

allegations that Birnbaum, Butler, Chudd, and Wolfe failed to send him emails “notwithstanding

group emails to practice groups and other listservs”8 do not amount to an adverse employment

action. Nor is there any allegation that these Additional Defendants had any reason, much less a

duty, to contact plaintiff through individual emails.9 Plaintiff’s allegation that Hudson “had

virtually no communications with [him]” after they “stopped working together at the end of

2015/beginning of 2016,” ¶ 124,10 also does not constitute an adverse employment action,

particularly absent any plausible allegation that Hudson had any reason or duty to contact plaintiff

after he completed his rotation through her group (Capital Markets) and was “permanently

assigned to [the] M&A group,” of which Hudson was not a member, ¶¶ 120, 126. Ward, 2016

WL 4371752, at *6 n.4.


8
     ¶¶ 207; 216 (Butler); 207 (Chudd); 174–75 (Birnbaum and Wolfe).
9
     Plaintiff’s admitted interactions with many other partners, see, e.g., ¶¶ 258, 263, including concessions that he
     “once a month[] had one-on-one interactions with Mr. Birnbaum (in Mr. Birnbaum’s office),” Orig. Compl.
     ¶ 152, renders implausible his allegation that Butler “create[d] a roadblock” between him and partners, ¶ 211;
     Colliton, 2008 WL 4386764 at *6, as does the fact that he worked directly with partners on at least four matters
     in this period. ¶¶ 262, 275; Ex. E (and exhibits thereto).
10
     This allegation as to Hudson is also time-barred for purposes of the state and city claims (and the Title VII
     claims against the Firm).

                                                         15
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 23 of 40




                         (b)      Plaintiff’s Complaints Concerning His Performance
                                  Reviews Do Not Establish an Adverse Employment
                                  Action or Show Discriminatory Animus

                 Allegations that Hudson and Chudd submitted performance evaluations or critiques

that were not “positive,” or that contained “suggestions,” or whose content “directly contradicted”

other “real-time” feedback plaintiff contends he received, fail to state a claim for relief. ¶¶ 85, 88

(Chudd); 118–20 (Hudson).11

                 Even negative performance reviews—much less mixed ones—“do not constitute

an adverse employment action,” particularly absent allegations, missing here, that there were

“tangible consequences resulting from the evaluation.” Chung v. City Univ. of N.Y., 605 F. App’x

20, 22 (2d Cir. 2015). Plaintiff does not allege that Chudd’s or Hudson’s reviews “trigger[ed]

other negative consequences in the terms and conditions of [his] employment.” Zoulas, 400 F.

Supp. 3d at 53 (“[N]egative performance evaluations do not, without more, constitute adverse

employment actions.”); see also Mira v. Argus Media, 2017 WL 1184302, at *4 n.5 (S.D.N.Y.

Mar. 29, 2017). There is also no allegation that Chudd or Hudson were involved in plaintiff’s

termination or the alleged diminution of his responsibilities, all of which are alleged to have

occurred after plaintiff and Chudd stopped working together and after plaintiff rotated out of

Hudson’s group, and was “permanently assigned to Davis Polk’s M&A group.” ¶¶ 126; see also

173, 295—96. Fried, 2011 WL 2119748, at *8; Vera, 2019 WL 3306117, at *9 (dismissing

claims). Ordinary-course “[c]riticism of an employee,” like Hudson’s correction of an admitted

grammatical error, ¶ 121, is likewise “not an adverse employment action.” LeeHim, 2017 WL

5634128, at *4 (quotation omitted).

                 Moreover, even allegations of reviews that “seemed out of context or exaggerated”



11
     Allegations as to Chudd’s 2015 reviews and Hudson’s 2016 reviews and performance critique are also time-
     barred for purposes of state and city claims (and the Title VII claims against the Firm). ¶¶ 84–94; 120–24.

                                                      16
          Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 24 of 40




cannot sustain a claim absent a nexus to a protected trait or activity (“discriminatory motivation”).

Mira, 2017 WL 1184302, at *2, 5 (dismissing claim lacking criticism of “performance in ethnically

degrading terms”); LeeHim, 2017 WL 5634128, at *9; Johnson v. Morrison & Foerster LLP, 2015

WL 845723, at *5 (S.D.N.Y. Feb. 26, 2015). Plaintiff does not allege that Chudd drafted his own

review, or delivered plaintiff’s consolidated review, “because of race,”12 nor are there any

plausible allegations that Hudson’s feedback was motivated by race. Henry, 18 F. Supp. 3d at

407; LeeHim, 2017 WL 5634128, at *3.

                            (c)       Plaintiff’s Complaints About Staffing Do Not Establish an
                                      Adverse Employment Action or Show Discriminatory Animus

                   Allegations that Brass, as an associate, removed plaintiff from a single assignment

over the course of three hours in 2016, or that Birnbaum and Wolfe (and, for 28 days in 2018,

Brass) failed personally to staff plaintiff on matters (or “ensured” that he was not “staffed” or was

“underutilized”), likewise are insufficient to sustain claims against them. ¶¶ 139-40, 147, 259,

295.

                   A plaintiff’s “[s]ubjective personal disappointment” “with the work assigned” to

him does not constitute an “adverse employment action”; nor does a plaintiff’s “dissatisfaction”

with work “not assigned” to him by supervisors. Johnson, 2015 WL 845723, at *5 (quotation

omitted). But even if plaintiff had alleged, as is required to plead an adverse employment action,

facts plausibly indicating that Brass, Birnbaum, and Wolfe’s actions resulted in a “negative change

in the terms and conditions of [his] employment,” the Amended Complaint still lacks any

allegation of animus on their part, as is also required. Henry, 18 F. Supp. 3d at 405 (quotation

omitted). There is no allegation that it was race, as opposed to poor performance, that motivated



12
       Plaintiff concedes that it was “not uncommon” for partners to “communicate” “such feedback” to “junior or
       mid-level . . . associates,” ¶ 89, and was Firm practice for partners to deliver “submitted performance reviews”
       of others, ¶¶ 88, n.10, 112, rebutting any inference of discriminatory intent.

                                                           17
         Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 25 of 40




Birnbaum, Wolfe, or Brass when making staffing decisions. Rogers, 2016 WL 889590, at *6

(being assigned only three hours of work per week did “not plausibly support even a minimal

inference of discriminatory motive”); Iqbal, 556 U.S. at 678 (“sheer possibility” of unlawful act

“‘stops short of the line between possibility and plausibility of entitlement to relief’” (quoting

Twombly, 550 U.S. at 557)).

                 The allegation that Brass “abrupt[ly] remov[ed]” plaintiff from a deal three hours

after plaintiff was told he would be assigned to the team, ¶¶ 139–40, does not establish any adverse

employment action.13 Henry, 18 F. Supp. 3d at 405, 411 (being “removed from the roll call and

sent home” not a “materially adverse change”). The mere assertion that an unnamed white

associate “replaced” plaintiff on the deal at an unknown point in the next two weeks (between July

22 and August 4), ¶ 146, is insufficient plausibly to establish that Brass’s alleged action was taken

“because of race.” Henry, 18 F. Supp. 3d at 407. There is no allegation that Brass was motivated

by anything other than the legitimate need to ensure that the deal was staffed appropriately at all

points. See Iqbal, 556 U.S. at 678. Moreover, plaintiff concedes that his billable hours increased

after his purported “removal,” rebutting any claim of adverse impact. ¶ 176.

                 As to Birnbaum and Wolfe, plaintiff has failed to put forth any facts, much less

“sufficient factual allegations . . . plausibly demonstrating that” the “non-Black associates” he

contends “remained continuously staffed” were in fact “similarly situated” to him. Rogers, 2016

WL 889590, at *6; ¶¶ 168, 204. The Amended Complaint offers no “details” with respect to the

alleged peers’ “responsibilities, qualifications, or quality of their work,” nor any “factual

amplification” or specific examples that Birnbaum or Wolfe treated him less well than similarly-

situated others for any reason, much less that they did so because of race. Daniels v. City of N.Y.,


13
     This allegation is also time-barred for purposes of state and city law (and the Title VII claim against the Firm).
     Part C. Brass was also not then an “employer,” for purposes of the NYSHRL, barring direct liability. Note 7.

                                                          18
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 26 of 40




2019 WL 251511, at *4–5 (S.D.N.Y. Jan. 17, 2019); Henry, 18 F. Supp. 3d at 408, 412 (“generic

allegation[s] of disparate treatment related to an unspecified class of Caucasian persons” fail under

Twombly).

                 Moreover, plaintiff’s own pleadings show that his staffing-related allegations

against Birnbaum, Wolfe, and Brass are implausible. Plaintiff concedes that staffing decisions are

made by networks of individuals. ¶¶ 126, 271. And irrespective of whether Birnbaum and Wolfe

personally “staff[ed] Plaintiff on . . . matters in 2016,” ¶ 170, plaintiff concedes that he was staffed

on matters throughout 2016. E.g., ¶ 176 (chart). Plaintiff’s concession that he billed more in the

three months after Birnbaum and Wolfe assumed a role with respect to his staffing (416.7) than in

the three months prior (406.6), ¶ 176, further rebuts any inference of discrimination attributable to

Birnbaum and Wolfe’s assumption of responsibilities in September 2016. Indeed, in no month in

2016 did plaintiff bill as many hours—234.7—as he did in September. ¶ 176.14

                          (d)      Plaintiff’s Complaint Concerning the Restaurant
                                   Request Does Not Establish an Adverse Employment
                                   Action or Show Discriminatory Animus

                 Plaintiff’s claim that Hudson asked Cardwell to a “recommend a Black restaurant

that is in Harlem” (“Mr. Cardwell obliged”), ¶ 124, which is the only allegation as to Hudson that

in any way concerns race, is not actionable. As set forth in defendants’ initial motion, the Amended

Complaint “incorporate[s] by reference” an email that completely refutes plaintiff’s allegation, and

any contention that the exchange was discriminatory. Almazan, 2015 WL 500176, at *4; Baraliu

v. Vinya Capital, L.P., 2009 WL 959578, at *4 (S.D.N.Y. Mar. 31, 2009). The email reads:

        Hudson:           Hi Kaloma, A client just asked me for a recommendation for a restaurant
                          near the Apollo. I remembered our ride up to the [Columbia Law School]

14
     Plaintiff’s concessions that he took extended leave in 2017 (e.g., ¶ 256 (April), ¶¶ 266, 278 (May, June)), and
     was staffed on a series of matters from May to September 2017 (see, e.g., ¶¶ 258–59, 262–63, 275; Ex. E (and
     exhibits 27–30 thereto)), likewise rebut any inference that might be drawn from the allegations that Birnbaum
     and Wolfe “effectively went an entire year without” personally staffing him. ¶¶ 168–69. The 2018 staffing
     allegations as to Brass are discussed further below.

                                                        19
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 27 of 40




                          dinner this spring and wondered if you have any ideas - thoughts? Thanks!
                          Sophia

        Plaintiff:        Hi Sophia, Definitely. A few suggestions: Red Rooster[;] Angel of
                          Harlem[;] The Cecil[.] Most of my friends would suggest Red Rooster (as
                          a safe bet) but I’ve heard good things about the other restaurants.

        Hudson:           Awesome - thanks!15

This “document, not the allegations, control[s].” Royal Park, 2016 WL 439020, at *1.16 The

exchange cannot support an inference of discrimination under Section 1981 or state or city law.

                 Notwithstanding that plaintiff’s allegations concerning this communication are

entirely refuted by the incorporated email, the allegation, even accepted as true, is a “non-

actionable stray remark[].” Moore v. Verizon, 2016 WL 825001, at *9 (S.D.N.Y. Feb. 5, 2016).

Plaintiff does not allege that the purported remark “ar[ose] in a context at all related to” an

employment decision, or had any “causal nexus” to an adverse employment action. Williams v.

Victoria’s Secret, 2017 WL 1162908, at *8–9 (S.D.N.Y. Mar. 28, 2017). This “stray remark[]”

thus cannot “raise an inference of discriminatory motivation” as a matter of law. Id.; accord Yan,

2016 WL 1276456, at *4–5 (dismissing § 1981 claim).

                 2.       The Remainder of Plaintiff’s Allegations Against the
                          Additional Defendants Do Not Establish Any Protected Activity
                          Known to the Additional Defendants (or Retaliatory Animus)

                 Plaintiff’s remaining allegations (of retaliation) against the Additional Defendants

fail absent any plausible allegation of “protected activity known to” them. Henry, 18 F. Supp. 3d




15
     This email exchange is attached hereto as Ex. G. Columbia Law School is located about 9 blocks from the
     Apollo and about 15 to 20 blocks from plaintiff’s residence at the time. Plaintiff included hyperlinks to each
     restaurant. This allegation is also time-barred for purposes of state and city law (and the Title VII claim
     against the Firm).
16
     The Court may consider documents “plaintiff knew about and relied upon.” SEC v. Rio Tinto plc, 2019 WL
     1244933, at *6 (S.D.N.Y. Mar. 18, 2019). Plaintiff concedes he was “aware of” the performance reviews he
     references in his Amended Complaint; he received them as part of the Firm’s NYSDHR brief. Ex. C; ¶¶ 84
     n.6, 115. Plaintiff also was “aware of” the above email; he sent and received it, and conceded in his January 20
     Initial Disclosures that he has retained “[c]opies of relevant interoffice email communications.”

                                                         20
         Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 28 of 40




at 411 (NYSHRL); Sosa, 2013 WL 6569913, at *7 (§ 1981).

                  First, the allegation that Butler should have known that a January 2017 reply email

from plaintiff on which Butler was “cc’d” referred to “discriminatory acts,” ¶¶ 214-15, presumably

in furtherance of a retaliation claim, fails to state a claim because there is no corresponding

allegation of any adverse employment action, retaliatory or otherwise.17 Even if there were, the

email—which states that plaintiff “look[ed] forward to learning how the Career Advisor Program”

would supplement “experiences and conversations” plaintiff had “regarding DPW interactions,

opportunity/assignments, and career development,” ¶ 214—makes no reference to negative

experiences, much less unlawful ones. If “nothing in the substance” of a communication “suggests

that the complained-of activity is, in fact, unlawfully discriminatory,” a complaint cannot be said

to have “put an employer on notice of a protected complaint” for purposes of the antiretaliation

laws. Haggood, 2014 WL 6473527, at *14 (citing Circuit precedent).

                  Second, to the extent plaintiff alleges that the Firm’s conclusions about certain

performance reviews “shifted” over time, or that reviews by Chudd or Hudson were “weaponized”

and “submitted to NYSDHR,” ¶¶ 86–87, 118–20, neither allegation can sustain retaliation claims

against Chudd or Hudson, because plaintiff does not allege that Chudd or Hudson had “knowledge

of [his] protected activity,” and there can be no “causal connection” between that alleged activity

and any “adverse employment action” by either of them (there was none). Callahan v. Consol.

Edison Co. N.Y., Inc., 187 F. Supp. 2d 132, 138 n.39 (S.D.N.Y. 2002) (dismissing claims). This

dooms plaintiff’s retaliation claims against Chudd and Hudson.                         Plaintiff purports to have

“flagged” five instances of discrimination in 2015 and 2016, the period relevant to his claims

against Chudd and Hudson: plaintiff alleges that he “flagged” two of these instances during



17
     This allegation is also time-barred, for purposes of the state and city claims.

                                                          21
         Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 29 of 40




meetings and communications with Reid and the Firm’s “Executive Director,” and the remaining

three instances to the Diversity Committee, Black Attorney Group, and “staffing coordinator[s]”

in M&A. ¶¶ 55–57, 67–68, 74, 76–77, 81, 144-45, 159, 164. But neither Chudd nor Hudson were

allegedly members of any of these groups, and plaintiff does not allege that Chudd or Hudson were

involved in, or aware of, his complaints. Absent any allegations that Chudd or Hudson were aware

of any purportedly protected activity, plaintiff also fails to allege a “causal connection” between

that alleged activity and any “adverse employment action” by either of them (there was none).

Callahan, 187 F. Supp. 2d at 138 n.39.18

                 Third, to the extent plaintiff alleges that Brass, Birnbaum, and Wolfe—then first-,

second- and third-year partners, respectively, ¶¶ 11–13—were part of a “group” that “collectively

decid[ed]” to terminate plaintiff for allegedly retaliatory reasons, these allegations likewise fail to

support an actionable claim. ¶ 296.

                 As to Brass, Plaintiff alleges no facts suggesting more than a single interaction with

him two years prior to the termination (the three-hour staffing allegation from 2016). ¶¶ 139–40.

Absent temporal proximity, which a two-year gap does not establish as a matter of law, there can


18
     The claim that Chudd “shifted” his “conclusions about” the review he prepared in September 2015 in response
     to alleged “complaints and the possibility of litigation” is conclusory and not fact-based: it cites to a chart
     making no reference to Chudd. ¶¶ 84, 87, n.9, 306. Moreover, the record refutes plaintiff’s allegations that
     documents Chudd or others prepared in the 2015 or 2016 review cycles were “retroactively created” and
     submitted to the NYSDHR, ¶¶ 84, n.7, 87. Chudd’s summary review is marked “Submitted on 12/22/2015,
     10:47 a.m.,” (¶ 88; Ex. C (Firm’s NYSDHR Br. Ex. 11)), and shows that his individual review was submitted
     prior to that date (see Ex. C at 4 item 3; ¶ 84). Plaintiff appears to be referring to the date a copy was printed
     (2017), as shown in the footer of Ex. C (Firm’s NYSDHR Br. Ex. 11).
     Defendants move, pursuant to Fed. R. Civ. P. 12(f), to strike the allegations that they—all members of the
     Bar—“retroactively created” reviews “after [plaintiff] engaged litigation,” ¶ 84 (as to Chudd), or that they
     “knowingly falsified and shifted their conclusions” about plaintiff’s performance and “submitted false
     statements” “to the NYSDHR,” ¶ 118 (as to Reid, Bick, Hudson, and the Firm).
     Further, plaintiff fails to identify or allege with any specificity the non-Firm “defendants” for whom
     “contemporaneous documentation [] makes it plain” that “false statements” were submitted to the NYSDHR.
     ¶ 118. No individuals were parties to the NYSDHR action; non-parties would have had no reason to
     “submit[]” any documentation to the NYSDHR, ¶ 118, and did not do so, as plaintiff now appears to
     acknowledge. ¶ 176, n.24; e.g., Ex. C (Firm’s NYSDHR Br.); Royal Park, 2016 WL 439020, at *1 (court
     “need not accept” “contradict[ed] allegations” as true).

                                                          22
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 30 of 40




be no inference of retaliation. Rogers, 2016 WL 889590, at *7.

               As to Birnbaum and Wolfe, plaintiff alleges no facts supporting an inference that

either knew of plaintiff’s purportedly protected activities.       Henry, 18 F. Supp. 3d at 411

(NYSHRL); Sosa, 2013 WL 6569913, at *7 (§ 1981). Plaintiff alleges that Birnbaum and Wolfe

“refus[ed] to staff [him]” in retaliation for three purportedly protected activities, but none can

support a claim. ¶¶ 164 n.21, 203, 295. As to the first—an alleged conversation with a “Junior

Staffing Coordinator,” on September 8, 2016, about an assignment in the Credit group, ¶¶ 155–

64—plaintiff alleges no facts supporting an inference that the conversation (which took place

outside Birnbaum and Wolfe’s “group” (M&A) only “days” after they had assumed any

responsibilities with respect to plaintiff’s class) was “known” to them. ¶¶ 155, 163 n.19, 169. As

to the second, no facts support the allegation that Birnbaum or Wolfe knew of plaintiff’s purported

“inquiry,” to a now-former litigation partner outside their corporate department, about a then-

former client. ¶¶ 199, 202. Even if these episodes constituted protected activity—which plaintiff

has not plausibly alleged, Haggood, 2014 WL 6473527, at *13—there can be no viable retaliation

claim against Birnbaum and Wolfe absent plausible allegations that these episodes were “known

to” them. Henry, 18 F. Supp. 3d at 411. The third—an allegation that Birnbaum and Brass (but

not Wolfe) were retaliating (by failing to staff or moving to terminate) against plaintiff for filing a

January 2018 rebuttal statement with the NYSDHR—fails because that filing was not known to

any defendants until after a November 2019 FOIL request by the Firm. ¶¶ 295–96; Ex. F

(requesting copies of “any briefs or replies filed by Mr. Cardwell, if any were ever filed”).

               Finally, the claims for hostile work environment and harassment should be

dismissed entirely, as to all defendants, as set forth at Part D, and the aiding and abetting claims

should be dismissed against all Additional Defendants because, absent any facts indicating that

they shared “intent” with others, and there are none, there can be no well-pleaded allegations of

                                                  23
         Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 31 of 40




“direct, purposeful participation” by them. Robles v. Goddard Riverside Community Ctr., 2009

WL 1704627, at *3 (S.D.N.Y. June 17, 2009) (dismissing claims against directors alleged to have

participated in termination).19

                 Plaintiff has failed entirely to set forth plausible allegations of (i) discriminatory or

retaliatory animus on the part of any of the Additional Defendants, (ii) any adverse employment

action by them, or (iii) any protected activity known to them.

                 The Additional Defendants should be dismissed from the case.

        C.       All Claims Against All Defendants Should Be Dismissed to the Extent Based
                 Upon Discrete Acts Barred by the Statute of Limitations

                 Plaintiff’s federal, state, and city claims against all defendants should be dismissed

to the extent that they are based upon discrete acts outside the limitations period.

                 Title VII. Plaintiff’s Title VII claims (which are only asserted against the Firm)

should be dismissed to the extent that they are based upon discrete acts prior to October 7, 2016,

300 days before plaintiff commenced his agency action. Cetina v. Longworth, 583 F. App’x 1, 2

(2d Cir. 2014).20 Under Title VII (and state and city law), timeliness is measured from the date of

the alleged “practice,” meaning the “discrete act or single occurrence.” Vega, 801 F.3d at 79

(quotation omitted). Courts routinely dismiss with prejudice, as time-barred, claims based on

events outside the limitations period. E.g., Lovell v. Staten, 2019 WL 4601665, at *4 (S.D.N.Y.

Sept. 23, 2019).

                 On a Rule 12 motion, courts will not consider time-barred events in determining

whether a plaintiff has met his pleading burden. For example, in Zoulas, this Court did “not



19
     Plaintiff brings no aiding and abetting claims against Chudd under any statute; against Brass under state or city
     law; or against Hudson on the harassment count. ¶¶ 328, 334, 339, 347, 355, 363, 371, 378.
20
     The 300-day limitations period runs from August 3, 2017, the day plaintiff filed his agency action; the
     limitations period was tolled only as to the Firm pending the agency process. Vega v. Hempstead Union Free
     Sch. Dist., 801 F.3d 72, 79 (2d Cir. 2015).

                                                         24
         Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 32 of 40




consider” “alleged acts [that] occurred more than 300 days before [plaintiff] filed her [NY]SDHR

complaint” in determining whether plaintiff had plausibly alleged discrimination or retaliation, and

permitted claims to proceed only to the extent that they were based upon alleged acts within 300

days of the filing of the administrative complaint. 400 F. Supp. 3d at 50, 53–56.21

                 In this action, plaintiff’s claims are based on allegations of serial, discrete acts—

not of a single continuing violation, the latter of which is “heavily disfavored in the Second

Circuit.”22 Flores v. N.Y.C. Human Res. Admin., 2011 WL 3611340, at *3 (S.D.N.Y. Aug. 16,

2011) (dismissing claims). Courts in this Circuit have found that the types of allegations asserted

here are “discrete acts” subject to the time bar:

       Receipt of “less desirable work assignments” is a discrete act. Flores, 2011 WL
        3611340, at *2, 6. Plaintiff’s pre-fall 2016 allegations that he was staffed on “non-deal”
        and “research” matters are time-barred. E.g., ¶¶ 131, 133–36, 138, 143, 155–60.
       “[D]iscontinuance of a particular job assignment” or “reductions in responsibility”
        are “paradigmatic examples of discrete acts” that “cannot form the basis of a continuing
        violation claim.” Roman-Malone v. City of N.Y., 2013 WL 3835117, at *3 (S.D.N.Y.
        July 25, 2013); Henry-Offor, 2012 WL 2317540, at *3. Plaintiff’s pre-fall 2016
        allegations as to removal from assignments are time-barred. E.g., ¶¶ 139–46, 166–67.
       “[D]enial of preferred job assignments” is “a prototypical example of a discrete act that
        is not subject to the continuing violations doctrine.” Sirisena v. City Univ. of N.Y., 2019
        WL 1493220, at *5 (E.D.N.Y. Mar. 31, 2019) (citation omitted); Zoulas, 400 F. Supp. 3d
        at 50. Plaintiff’s pre-fall 2016 allegations with respect to being kept off deals are time-

21
     See also Lovell, 2019 WL 4601665, at *4 (dismissing portions of discrimination and retaliation claims “based
     on events in 2008 and 2013”).
22
     Even when “discrete unlawful acts . . . are part of a serial violation,” the exception “does not apply” to exempt
     them from the time bar. Fleurentin v. N.Y.C. Health and Hosp. Corp., 2020 WL 42841, at *3 (E.D.N.Y. Jan.
     3, 2020); Henry-Offor v. City Univ. of N.Y., 2012 WL 2317540, at *3 (S.D.N.Y. June 15, 2012) (courts are
     “loath to apply” continuing violations exception). This is especially true with respect to plaintiff’s allegations
     against all individual defendants (the Management Committee Defendants and the Additional Defendants),
     which by their nature are discrete, individualized acts not tethered to Firm-wide policy. See, e.g., Diaz v. City
     Univ. of N.Y., 2014 WL 10417871, at *11 (S.D.N.Y. Nov. 10, 2014) (“long history of discrete unsatisfactory
     dealings with numerous individual defendants,” absent “any facts that would plausibly show the existence of a
     policy that linked” time-barred and non-time-barred allegations, not a “continuing[ ]violation”), rep’t & rec.
     adopted in rel. pt., 2015 WL 5577905 (S.D.N.Y. Sept. 22, 2015); Donlon v. Bd. of Educ. of Greece Cent. Sch.
     Dist., 2007 WL 108470, at *4 (W.D.N.Y. Jan. 12, 2007) (“separate evaluations” over “four-year period” by
     “distinct individuals” not a continuing violation). “[C]ourts in this circuit have consistently rejected attempts
     to save otherwise time-barred claims by conclusory allegations that a series of related discrete acts constituted
     a pattern or practice.” Mirasol v. Gutierrez, 2006 WL 871028, at *4 (S.D.N.Y. Apr. 5, 2006) (dismissing
     claims).

                                                          25
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 33 of 40




            barred. E.g., ¶¶ 134–48, 168.
       “[N]egative performance reviews” and “unwarranted criticism” are “discrete
        acts.” Zoulas, 400 F. Supp. 3d at 50; Henry-Offor, 2012 WL 2317540, at *3. Plaintiff’s
        pre-fall 2016 allegations as to reviews and criticisms are time-barred. E.g., ¶¶ 84–94, 97–
        106, 120.
       Denials of chances to “attend meetings” “provid[ing] exposure which can help lead
        to promotion” are discrete acts. Flores, 2011 WL 3611340, at *2, 6 (S.D.N.Y. Aug. 16,
        2011). Plaintiff’s pre-fall 2016 allegations of such acts are time-barred. E.g., ¶¶ 62–64.
       Acts of exclusion, “ostracism” and isolation are “barred as untimely to the extent they
        occurred prior to” the limitations date. Flores, 2011 WL 3611340, at *6. Allegations
        that individuals would “walk by [plaintiff] in the hallways without . . . acknowledgment,”
        ¶ 110, or ignore his emails, ¶¶ 109–10, 137, 142, 149–54, are discrete and time-barred.
       Other single pre-fall 2016 “discriminatory interactions” are by nature discrete acts and
        time-barred. See, e.g., ¶¶ 55–61, 67–69, 95, 121–24.

Plaintiff’s Title VII claims against the Firm should exclude all these discrete acts (and allegations

consistent with those described above) occurring prior to October 7, 2016. Zoulas, 400 F. Supp.

3d at 50.

                 Plaintiff’s allegations of hostile work environment under Title VII likewise are

insufficient, for two reasons. First, they attempt to “recast” discrete or “serial” acts, and should be

dismissed entirely, as set forth at Part D. Second, claims of “continuing violation” are subject to

dismissal unless “clearly asserted both in the EEOC filing and in the complaint.” McPhee v. N.Y.C.

Health and Hosps. Corp., 2008 WL 3930089, at *4 (S.D.N.Y. Aug. 25, 2008) (quotation omitted)

(dismissing claims). Here, plaintiff failed to allege such a claim in his administrative action: his

“charge particulars” (position statement) made no mention of hostile work environment, and his

“charges of discrimination” do not check the box for “continuing action.” Exs. A, B, D. The Title

VII hostile work environment claim thus also may not be based on acts occurring before October

7, 2016.

                 Section 1981. Plaintiff’s claims under Section 1981 are subject to the same

principle, Roman-Malone, 2013 WL 3835117, at *3, and should be dismissed to the extent that

they are based upon discrete acts prior to November 4, 2015, Rogers, 2016 WL 889590, at *9 (4-
                                                  26
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 34 of 40




year limitations period).23

                 State and City Claims. For similar reasons, plaintiff’s state and city claims against

all individual defendants—the Additional Defendants and the Management Committee

Defendants—should be dismissed as time-barred to the extent that they are based upon discrete

acts occurring prior to November 4, 2016 (March 2, 2017, as to Butler24), because plaintiff named

no individual defendants in his administrative charge, and claims against them therefore were not

tolled. Kassner v. 2nd Ave. Deli., Inc., 496 F.3d 229, 236-38 (2d Cir. 2007) (3-year statute of

limitations for NYS- and NYCHRL claims); Kimball v. Vill. of Painted Post, 737 F. App’x 564,

572–73 (2d Cir. 2018) (no tolling against individual defendant not named). As discussed at Part

B, core allegations against each of the Additional Defendants are time-barred for purposes of state

and city law. For instance:

       Chudd’s 2015 reviews are time-barred discrete acts. ¶¶ 84–94.
       Brass’s 2016 removal of plaintiff from a deal is a time-barred discrete act. ¶¶ 139–41.
       All allegations against Hudson are time-barred under state and city law. ¶¶ 118–24.25
       Butler’s alleged lack of response to a January 2017 email is time-barred. ¶ 214-15.

Allegations against the Management Committee Defendants, and generalized allegations against

them or the Additional Defendants cast as allegations against all “Defendants,” “Davis Polk,” or


23
     Except as to the hostile work environment claim, which is limited to events forming part of the same
     “actionable practice” (and thus to events beginning in October 2016 at the earliest), and as to Butler, for whom
     the period runs beginning March 2, 2016 for Section 1981 claims. Plaintiff was aware of Butler’s alleged role
     when he filed his original complaint in November 2019, and his decision not to name him “must be considered
     a matter of choice.” Schoolcraft v. City of N.Y., 81 F. Supp. 3d 295, 301 (S.D.N.Y. 2015) (citing Cornwell v.
     Robinson, 23 F.3d 694, 705 (2d Cir. 1994)). Where “failure to name” a defendant in an original complaint
     “was the result of a fully informed decision as opposed to a mistake concerning the proper defendant’s
     identity,” the limitations period is keyed to the Amendment adding the new defendant—here, March 2, 2020—
     not the original complaint. Id.; ECF 1 at ¶ 189.
24
     See note 23, supra.
25
     As discussed supra at note 18, the allegations that Reid, Bick, Hudson, and the Firm “knowingly falsified and
     shifted their conclusions” about plaintiff’s performance and “submitted false statements” “to the NYSDHR,”
     ¶ 118, and that Chudd “retroactively created” reviews “after [plaintiff] engaged litigation,” ¶ 84, are proven
     false by the administrative record and therefore “need not [be] accept[ed]” as true, Royal Park, 2016 WL
     439020, at *1. The only remaining allegations against Hudson are discrete acts that occurred prior to
     November 4, 2016 and are thus time-barred under state and city law.

                                                        27
         Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 35 of 40




“the partners,” are subject to the same time bar. Flores, 2011 WL 3611340, at *6 (“undated and

unspecified incidents of disparate treatment” outside limitations period time-barred); see, e.g.,

¶¶ 95 (as to Reid); ¶¶ 97–110, 133, 137, 142 (as to Bick).26

        D.        Plaintiff’s Hostile Work Environment and
                  Harassment Claims Should Be Dismissed

                  Hostile Work Environment. As described above, plaintiff failed to allege hostile

work environment or any continuing violation in his administrative charge (or his original

complaint). Part C; Exs. A, B. Accordingly, plaintiff’s Title VII hostile work environment claim

against the Firm should be dismissed for failure to exhaust administrative remedies. Fleming v.

Verizon N.Y., Inc., 419 F. Supp. 2d 455, 464 (S.D.N.Y. 2005) (dismissing claim); Green v. Jacob

Co. Watches, Inc., 248 F. Supp. 3d 458, 467 (S.D.N.Y. 2017) (same).

                  Plaintiff’s Section 1981 hostile work environment claim against all defendants (and

analogous Title VII claim, if not otherwise dismissed), also should be dismissed as inadequately

pleaded. To plead hostile work environment under Section 1981 or Title VII, “plaintiff must allege

facts plausibly demonstrating that ‘the workplace [wa]s permeated with discriminatory

intimidation, ridicule, and insult that [wa]s sufficiently severe or pervasive to alter the conditions

of [his] employment and create an abusive working environment’” and that this happened “because

of” race. Rogers, 2016 WL 889590, at *8 (quoting Littlejohn v. City of N.Y., 795 F.3d 297, 320–

21 (2d Cir. 2015) (dismissing Title VII and § 1981 claims)). This standard, too, has “‘objective

and subjective components.’” Id.

                  Plaintiff has not alleged any such facts. Plaintiff uses the phrase “hostile [work]



26
     Plaintiff has failed to allege even the bare elements of an NYSHRL harassment claim, as set forth below. But
     even if harassment could constitute a continuing violation, the only “harassment” plaintiff alleges is that, as his
     workload declined, he felt embarrassed by questions about workload. ¶ 192-93. Thus to the extent plaintiff’s
     claim can be based on events outside the limitations period, the claim can only be based on events after
     October 1, 2016, the point to which plaintiff keys his drop in hours. Part B (Facts), infra.

                                                          28
         Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 36 of 40




environment” in only two paragraphs outside the Counts, ¶¶ 272, 276, and his claim of an

actionable hostile work environment practice is based on only one allegation: that he was not

staffed “on a[n] M&A deal for . . . periods of time” beginning in October 2016 at the earliest.27

¶ 276. This allegation is manifestly insufficient to support a claim for hostile work environment

under federal law.

                 Rogers is instructive. In that case, the court held that allegations concerning an

employer’s “failure to offer [certain] assignments to Plaintiff, its failure to promote Plaintiff, and

its imposition of other obstacles to his professional advancement—which largely recast his timely

and time-barred claims of disparate treatment—do not suggest the sort of objective hostility

necessary to support a hostile work environment claim.” Id. at *8 (collecting cases28). The court

noted that “a hostile work environment claim ‘is a wholly separate cause of action designed to

address other types of work place behavior, like constant jokes and ridicule or physical

intimidation,’” and that the “episodic instances of disparate treatment alleged . . . do not plausibly

suggest harassment of sufficient regularity to state a hostile work environment claim.” Id. (citation

omitted) (citing Johnson v. Long Island Univ., 58 F. Supp. 3d 211, 225–26 (E.D.N.Y. 2014)

(dismissing claim predicated on isolated acts spread over two years)). The court held that the

plaintiff’s allegations were insufficient to state a claim for hostile work environment. Id. at *9;

accord Littlejohn, 795 F.3d at 321 (dismissing Title VII and § 1981 claims).29                             Plaintiff’s


27
     Plaintiff concedes that this “practice” began after he “became a third-year associate” in September 2016,
     ¶¶ 165, 169, and concedes that his hours remained within the Firm “average” in July and August, and well
     above average in September 2016 (243.7 hours). ¶ 176, nn. 25, 33.
28
     See, e.g., id. (citing Hughes v. Xerox Corp., 37 F. Supp. 3d 629, 646–48 (W.D.N.Y. 2014) (dismissing claim
     predicated principally on facially neutral allegations of disparate treatment over three years, including
     exclusion from meetings, loss of work duties, derision regarding career advancement, denial of promotional
     opportunities, and unfair targeting, because such allegations did not evince a sufficient degree of objective
     hostility); Parekh v. Swissport Cargo Serv., Inc., 2009 WL 290465, at *5 (E.D.N.Y. Feb. 5, 2009) (concluding
     that plaintiff’s complaints, including of “shift changes,” “failure to promote, and his termination” did not
     sufficiently suggest the degree of hostility or offensiveness required to withstand a motion to dismiss)).
29
     Plaintiff’s allegation of “failure to investigate” his staffing claims, e.g. ¶¶ 273, 173 n. 24, “does not
     ‘contribute[] to or constitute[] a hostile work environment,’ for such inaction does not ‘alter the terms and

                                                          29
         Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 37 of 40




allegations here are, as a matter of law, analogous to those in Rogers and warrant dismissal.

                 Harassment. Finally, plaintiff’s claim of harassment under the NYSHRL against

all defendants should be dismissed for failure plausibly to allege harassment. To plead harassment

under the NYSHRL, a plaintiff must plausibly allege that he was subjected, because of race, to

“inferior terms, conditions or privileges of employment.” N.Y. Exec. L. § 296(1)(h), as amended.

Plaintiff also must plausibly allege both that he “subjectively perceive[d] the work environment to

be abusive,” and that “a reasonable person would find it hostile or abusive.” Weir v. Montefiore

Med. Ctr., 2018 WL 1033238, at *8 (S.D.N.Y. Feb. 22, 2018) (quotation omitted).30

                 Here, notwithstanding an opportunity to amend in response to defendants’ motion

to dismiss, plaintiff has failed to identify any basis in “fact[]” for this claim. E.g., Henry, 18 F.

Supp. 3d at 402 n.3. The word “harass[ment]” appears in only four paragraphs outside the Counts,

¶¶ 193, 272, 311, cf. 302, and the only “harassment” plaintiff alleges is that certain unnamed

partners “walked by Mr. Cardwell while knowing that they were not going to staff Mr. Cardwell

on any assignments,” knowing that it would be “virtually impossible for an associate to go

throughout his or her day without encountering multiple lawyers and colleagues who would ask”

what he was working on, ¶ 192, and that interactions like “constantly being asked what type of


     conditions of . . . employment.’” Rogers, 2016 WL 889590, at *8 (quoting Fincher v. Depository Tr. &
     Clearing Corp., 604 F.3d 712, 724 (2d Cir. 2010)).
     Construing plaintiff’s claim to allege hostile work environment from “isolation” or “lack of direct
     communication,” ¶¶ 218, 222, likewise would not save the claim. Littlejohn, 795 F.3d at 321 (dismissing
     claim and citing holding that “‘diminished [job] responsibilities,’ ‘exclu[sion] from staff meetings,’ deliberate
     ‘avoid[ance],’ ‘yell[ing] and talk[ing] down to,’ and an increased workload of menial tasks, among other
     factors, was not enough to show that defendants’ conduct was sufficiently severe or pervasive”) (quoting
     Davis-Molina v. Port Auth. of N.Y. & N.J., 2011 WL 4000997, at *11 (S.D.N.Y. Aug. 19, 2011)); Fleming v.
     MaxMara USA, Inc., 371 F. App’x 115, 119 (2d Cir. 2010) (no hostile work environment where “defendants
     wrongly excluded [the plaintiff] from meetings, excessively criticized her work, refused to answer work-
     related questions, arbitrarily imposed duties outside of her responsibilities, threw books, and sent rude emails
     to her”).
30
     These requirements survive a 2019 amendment to the NYSHRL. Even were courts to look to the “more liberal
     NYCHRL standard” to interpret the revised NYSHRL, courts nevertheless dismiss NYCHRL claims where,
     for example, the employee has not demonstrated a link between an “unpleasant office environment and
     discriminatory behavior based on race.” Moore, 2016 WL 825001, at *13.

                                                          30
        Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 38 of 40




legal matters one is working on [] would become a form of harassment and humiliation.” ¶ 193.

Plaintiff alleges that the individual defendants “caused” him to “experience a constant barrage of

inquiries about staffing.” Id.

                 These allegations are manifestly insufficient to sustain a claim that plaintiff was

subjected to “inferior terms, conditions or privileges of employment” because of his race, either

objectively or subjectively. N.Y. Exec. L. § 296(1)(h), as amended; Weir, 2018 WL 1033238, at

*8; cf. LeeHim, 2017 WL 5634128, at *4–6. Plaintiff’s concession that such questions were a

routine part of firm life, ¶ 192, rebuts any inference that defendants “caused” the questioning. And

if questions by “multiple lawyers and colleagues” about workload were, as plaintiff concedes, a

routine part of firm life, ¶ 192, there is not and cannot be support for the notion that an “objective”

or “reasonable person” would perceive the questions as “hostile or abusive,” or perceive the

questions to constitute, standing alone, a “change in the conditions” of plaintiff’s employment.

Weir, 2018 WL 1033238, at *8. Mere allegations that a workplace has become subjectively

“unpleasant” for an employee whose services are no longer in high demand do not support

harassment claims. Moore, 2016 WL 825001, at *1, 13. Nor has plaintiff alleged, as he must, any

“facts tending to show that” that the alleged inquiries he faced about staffing were directed at him

“because of” his race. Harris v. NYU Langone Med. Ctr., 2013 WL 3487032, at *27 (S.D.N.Y.

July 9, 2013) (noting that the “law does not allow the Plaintiff to dispense with linking his claim

of hostility to some attitude that the law forbids”), rep’t & rec. adopted, 2013 WL 5425336, at *4

(S.D.N.Y. Sept. 27, 2013).31



31
     See also White v. Bridge Inc., 2019 WL 4805896, at *4 (S.D.N.Y. Sept. 30, 2019) (noting, in hostile work
     environment case, that “even repeated questioning about retirement is insufficient to plausibly allege
     discriminatory motivation”); cf. Woods v. Enlarged City Sch. Dist. of Newburgh, 473 F. Supp. 2d 498, 520–21
     (S.D.N.Y. 2007), aff’d, 288 F. App’x 757 (2d Cir. 2008) (finding, on summary judgment, that plaintiff was not
     “intimidated, ridiculed or insulted because of her race,” where, of 200 instances of alleged harassment, “only
     one ha[d] any racial overtones whatsoever”).

                                                        31
       Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 39 of 40




       E.      Plaintiff’s Section 1981 Aiding and Abetting Claims
               Should Be Dismissed

               To the extent plaintiff purports to bring claims against Reid, Bick, Hudson,

Birnbaum, Brass, Wolfe, and Butler for aiding and abetting discrimination, retaliation, and hostile

work environment under Section 1981 (Counts 4, ¶¶ 328–29; 5, ¶¶ 334–35; 6, ¶¶ 339–40), these

claims should be dismissed. Aiding and abetting is “not a viable claim” under Section 1981. Lue

v. JPMorgan Chase & Co., 2018 WL 1583295, at *10 (S.D.N.Y. Mar. 27, 2018); accord Long v.

Marubeni Am. Corp., 2006 WL 547555, at *4 n.4 (S.D.N.Y. Mar. 6, 2006) (collecting Supreme

Court and circuit precedent).




                                                32
         Case 1:19-cv-10256-GHW Document 44 Filed 04/30/20 Page 40 of 40




                                          CONCLUSION

                For the reasons set forth above, defendants respectfully request that the Court

dismiss with prejudice: (i) all claims against the Additional Defendants; (ii) all claims to the extent

that they are barred by the applicable statutes of limitations; (iii) the hostile work environment and

harassment claims against all defendants; and (iv) all aiding and abetting claims under

Section 1981.



Dated:          April 30, 2020
                New York, New York

                                       Respectfully submitted,


                                       PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP


                                       By: /s/ Bruce Birenboim
                                          Bruce Birenboim
                                          Jeh C. Johnson
                                          Susanna Buergel
                                          Marissa C.M. Doran

                                       1285 Avenue of the Americas
                                       New York, New York 10019-6064
                                       Telephone: (212) 373-3000
                                       bbirenboim@paulweiss.com
                                       jjohnson@paulweiss.com
                                       sbuergel@paulweiss.com
                                       mdoran@paulweiss.com
                                       Attorneys for Defendants




                                                  33
